                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



PETER PAUL
591 Glenfield Way                                                              COMPLAINT
West Palm Beach, FL, 33411

                  Plaintiff,
v.

U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Ave N.W.
Washington, DC, 20530


                      Defendants.


       Plaintiff Peter Paul (“Plaintiff”), by and through the undersigned counsel, brings this

action against Defendant United States Department of Justice (“DOJ”) to compel compliance

with the Privacy Act of 1974, 5 U.S.C.§ 552 (a) (“Privacy Act”). As grounds therefore, Plaintiff

alleges as follows:

                                    JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this action pursuant to 5. U.S.C. § 552(a)(4)(B)

and 28 § U.S.C 1331.

       2.      Venue is proper in this district pursuant to 28. U.S.C. § 1391(e).

                                             PARTIES

       3.      Plaintiff Peter Paul is an individual and citizen of the state of Florida.

       4.      Defendant DOJ is an agency of the U.S. Government. DOJ has possession,

custody, and control of records to which Plaintiff seeks access.

                                     STATEMENT OF FACTS




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       5.      On January 24, 2018, Plaintiff sent a Privacy Act request to DOJ by facsimile and

Federal Express requesting:

       Request #1: Any and all documents that refer or relate in any way to Peter F. Paul.

       Request #2: Any and all documents that refer or relate in any way to Peter F. Paul
       with regard to any and all USDOJ Inspector General reports on investigations of
       Federal Bureau of Investigation (“FBI”) alleged misconduct involving agents Ron
       Moretti, Angela Jett, Bruch Ohr, Noel Hillman, and Robert Levinson from 2001
       to 2003.

A true and correct copy of Plaintiff’s Privacy Act request was and Proof of Service are attached

hereto as Exhibit 1.

       6.      DOJ was required to determine whether to comply with Plaintiff’s Privacy Act

Request within 20 days, excepting Saturdays, Sundays, and legal public holidays.

       7.      As of the date of this Complaint, even after nearly 8 months since the Privacy Act

Request was made, DOJ has failed to make bona fide, good faith determinations much less

respond at all concerning whether it will comply with Plaintiff’s request. Nor has DOJ produced

any records responsive to Plaintiff’s request, indicated when any responsive records will be

produced, or demonstrated that specific responsive records are exempt from production.

                                 FIRST CAUSE OF ACTION
                       (Violation of Privacy Act of 1974, 5 U.S.C. § 552)

       8.      Plaintiff realleges paragraphs 1 through 7 as if fully stated herein.

       9.      DOJ is unlawfully withholding records requested by Plaintiff’s Privacy Act

Request pursuant to 5 U.S.C. § 552(a) as set forth in Exhibit 1, which is incorporated herein by

reference.

       10.     Plaintiff is being irreparably harmed by reason of DOJ’s unlawful withholding of

requested records, and Plaintiff will continue to be irreparably harmed unless DOJ is compelled

to conform its conduct to the requirements of the law.



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       WHEREFORE, Plaintiff respectfully requests that the Court (1) order DOJ to conduct a

and expedited search for any and all responsive records to Plaintiff’s Privacy Act request and

demonstrate that it employed search methods reasonably likely to lead to the discovery of

records responsive to Plaintiff’s Privacy Act Request; (2) order DOJ to produce, by a certain date

in the near future, any and all non-exempt records responsive to Peter Paul’s Privacy Act

Request request and a Vaughn index of any responsive records withheld under claim of

exception; and (3) grant Plaintiff such other relief as the Court deems just and proper. This

Privacy Act request is of extreme importance not just to Plaintiff but also is in the public interest.

Dated: August 13, 2018                                 Respectfully submitted,

                                                        /s/ Larry Klayman
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